           Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 1 of 7



 1

 2

3

4

5

6

7
                                UNITED STATES DISTRICT COURT
8                         FOR THE WESTERN DISTRICT OF WASHINGTON
9                                        AT SEATTLE

10    TAYLER WILEY,                                           Case No. 2:22-cv-00374

11                                               Plaintiff,   COMPLAINT

12    v.
13    UNITED STATES OF AMERICA; JAY
      SCOTT and JANE DOE SCOTT, and the marital
14
      community composed thereof;
15
                                             Defendants.
16

17          COMES NOW the plaintiff, Tayler Wiley, and hereby pleads and alleges as follows:

18
                                            I.    PARTIES
19

20          1.1       Plaintiff Tayler Wiley. Plaintiff Tayler Wiley was at all relevant times

21   residing in King County, State of Washington.

22          1.2       Defendant United States of America. Defendant United States of America

23   was at all material times acting through the United States Postal Service (hereinafter “USPS)
24   and its employee and/or agent, Jeffrey K. Yeager. Defendant United States of America
25
     created the United States Postal Service (hereinafter “USPS”) as an independent agency of
26
     the executive branch. USPS was created and is governed by the Postal Reorganization Act

      COMPLAINT - 1                                                           COLBURN LAW
                                                                          22500 SE 64TH PLACE, SUITE 200
                                                                               ISSAQUAH, WA 98027
                                                                     TEL: (206) 919-3215 FAX: (888) 850-2909
            Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 2 of 7



     (“PRA”), 39 U.S.C. §§ 101 – 5605. Defendant United States of America by and through the
 1
     USPS is engaged in commerce and does business in King County, Washington. At all
 2

3    relevant times, Jeffrey K. Yeager was a United States Postal Service employee and,

4    therefore, an employee of the United States of America for purposes of 28 U.S.C. § 1346.

5    Defendant United States of America is vicariously liable for the acts and/or omissions of its

6    employee and/or agent as described herein under the legal theories of principal/agent,
7    master/servant, and/or respondent superior.
8
            1.3       Defendant Jay Scott. Upon information and belief, Defendant Jay Scott is
9
     and was at all material times hereto a resident of King County, State of Washington. If this
10
     defendant is married, all acts and omissions by Defendant Jay Scott described herein were
11
     performed on behalf of the marital community.
12

13
                                II.   JURISDICTION AND VENUE
14
            2.1       Jurisdiction. Subject matter jurisdiction is predicated on federal question
15
     jurisdiction under 28 U.S.C. § 1331. The court also has jurisdiction under the Federal Tort
16
     Claims Act (“FTCA”), 28 U.S.C. § 1346(b), 2671-2680, as well as pendant and
17
     supplemental subject matter jurisdiction over the state law claims under 28 U.S.C. § 1367.
18

19          2.2       Venue. Venue is proper in this district court under 28 U.S.C. § 1391(b)

20   because the events giving rise to the claims occurred in this district.

21
                                            III.   FACTS
22
            3.1       On April 4, 2019, Jeffrey K. Yeager was employed by Defendant United
23

24   States of America through its federal agency the United States Postal Service.

25          3.2       On April 4, 2019, Jeffrey Yeager was driving an automobile in the City of

26   Seattle, King County, Washington.


      COMPLAINT - 2                                                            COLBURN LAW
                                                                           22500 SE 64TH PLACE, SUITE 200
                                                                                ISSAQUAH, WA 98027
                                                                      TEL: (206) 919-3215 FAX: (888) 850-2909
              Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 3 of 7



               3.3    Jeffrey Yeager was driving an automobile owned, operated, and maintained
 1
     by Defendant United States of America through its federal agency the United States Postal
 2

3    Service

4              3.1    Jeffrey Yeager was driving southbound on Stone Way North.

5              3.2    As Jeffrey Yeager intended on turning left into a parking area, he entered the

6    two-way left turn lane in the center of Stone Way North.
7              3.3    Jeffrey Yeager made a blind left turn, crossing in front of stopped northbound
8
     traffic, and entered the northbound dedicated bicycle lane.
9
               3.4    Upon information and belief, Jeffrey Yeager claims that Defendant Jay Scott
10
     stopped to allow him to turn left through a gap in northbound stopped traffic.
11
               3.5    Upon information and belief, Jeffrey Yeager claims that Defendant Jay Scott
12

13   waved him through the gap in northbound stopped traffic.

14             3.6    The automobile driven by Jeffrey Yeager did not stop to yield the right-of-

15   way to an oncoming bicyclist. In doing so, he cut-off the plaintiff, Tayler Wiley on her

16   bicycle causing a T-bone style bicycle-versus-van collision.
17             3.7    At the time of the collision, Jeffrey Yeager was acting within the course and
18
     scope of his employment with the United States Postal Service. United States of America is
19
     the proper defendant.
20
               3.8    The tortious conduct of Jeffrey Yeager was a proximate cause of the bicycle-
21
     versus-van collision and the resulting injuries and damages suffered by the plaintiff, Tayler
22
     Wiley.
23

24             3.9    Upon information and belief, the tortious conduct of Defendant Jay Scott was

25   a proximate cause of the bicycle-versus-van collision and the resulting injuries and damages

26   suffered by the plaintiff, Tayler Wiley.


      COMPLAINT - 3                                                           COLBURN LAW
                                                                          22500 SE 64TH PLACE, SUITE 200
                                                                               ISSAQUAH, WA 98027
                                                                     TEL: (206) 919-3215 FAX: (888) 850-2909
            Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 4 of 7



 1    IV.    CAUSES OF ACTION – DEFENDANT UNITED STATES OF AMERICA
 2
             4.1      Plaintiff Tayler Wiley incorporates the previous allegations of the Complaint.
3
             4.2      Defendant United States of America’s employees and/or agents had a duty to
4
     exercise ordinary care to avoid placing himself and/or others in danger.
5
             4.3      Defendant United States of America’s employees and/or agents had a duty to
6
     exercise ordinary care to avoid a collision.
7

8            4.4      Defendant United States of America’s employees and/or agents had a duty of

9    care to act reasonably.

10           4.5      The driver of a vehicle intending to turn to the left shall yield right-of-way to

11   any vehicle approaching from the opposite direction.
12           4.6      RCW 46.61.526(11)(c)(iii)(B), was enacted as part of a series of traffic safety
13
     rules to protect bicyclists and defines bicyclists as “vulnerable users of a public way”.
14
             4.7      Pursuant to Seattle Municipal Code 11.53.190, “The operator of a motor
15
     vehicle shall not drive in a bicycle lane except to execute a turning maneuver, yielding to all
16
     persons riding bicycles therein.”
17
             4.8      Plaintiff Tayler Wiley was the favored user of the roadway with the right-of-
18

19   way.

20           4.9      Defendant United States of America’s employees and/or agents, including

21   but not limited to Jeffrey K. Yeager, failed to exercise ordinary care to avoid placing others
22   in danger, including but not limited to Plaintiff Tayler Wiley.
23
             4.10     Defendant United States of America’s employees and/or agents, including
24
     but not limited to Jeffrey K. Yeager, failed to exercise ordinary care to avoid causing a
25
     collision.
26


      COMPLAINT - 4                                                             COLBURN LAW
                                                                            22500 SE 64TH PLACE, SUITE 200
                                                                                 ISSAQUAH, WA 98027
                                                                       TEL: (206) 919-3215 FAX: (888) 850-2909
            Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 5 of 7



             4.11     The tortious conduct of Defendant United States of America’s employees
 1
     and/or agents, including but not limited to Jeffrey K. Yeager, was a proximate cause of
 2

3    injuries and damages to Plaintiffs.

4            4.12     Defendant United States of America is vicariously liable for the tortious

5    conduct of its employees and/or agents, including but not limited to Jeffrey K. Yeager.

6
                    V.    CAUSES OF ACTION – DEFENDANT JAY SCOTT
7

8            5.1      Plaintiff Tayler Wiley incorporates the previous allegations of the Complaint.

9            5.2      Defendant Jay Scott had a duty of care to act reasonably.

10           5.3      Defendant Jay Scott had a duty to exercise ordinary care to avoid placing

11   himself and/or others in danger.
12           5.4      Upon information and belief, and the statements of Jeffrey K. Yeager to
13
     investigating law enforcement officers, Defendant Jay Scott stopped to leave a gap in traffic
14
     and then waved at Jeffrey K. Yeager indicating that it was safe to execute his left turn.
15
             5.5      When a driver waves a left turning driver through stopped traffic, the waving
16
     driver assumes a duty to help the left turning driver cross the street. The waving driver is
17
     obligated to discharge that duty with reasonable care, including exercising reasonable care
18

19   to perceive oncoming vehicles, including bicyclists, and/or warning of the presence of

20   oncoming vehicles, including bicyclists.

21           5.6      Defendant Jay Scott, failed to exercise ordinary care to avoid placing others

22   in danger, including but not limited to Plaintiff Tayler Wiley.
23
             5.7      Defendant Jay Scott failed to exercise ordinary care to avoid causing a
24
     collision.
25

26


      COMPLAINT - 5                                                             COLBURN LAW
                                                                            22500 SE 64TH PLACE, SUITE 200
                                                                                 ISSAQUAH, WA 98027
                                                                       TEL: (206) 919-3215 FAX: (888) 850-2909
           Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 6 of 7



            5.8       The tortious conduct of Defendant Jay Scott was a proximate cause of
 1
     injuries and damages to Plaintiff Tayler Wiley.
 2

3
                                          VI.    DAMAGES
4
            6.1       Plaintiff Tayler Wiley incorporates the previous allegations of the Complaint.
5
            6.2       The tortious conduct of Defendants was a proximate cause of injuries and
6
     damages to the plaintiff, Tayler Wiley. Ms. Wiley has incurred medical expenses, lost
7

8    earnings, loss of earning capacity, and with reasonable probability is expected to incur

9    further medical expenses, lost earnings, and loss of earning capacity in the future and has

10   undergone pain and suffering, disability, disfigurement, and loss of enjoyment of life, and

11   with reasonable probability will continue to do so in the future, and property damage, and
12   other damages, all in an amount to be proven at the time of trial.
13
            6.3       Plaintiff Tayler Wiley’s damages were not caused by any fault on her part,
14
     but were caused solely by the tortious acts and omissions of Defendant United States of
15
     America’s employee and/or agent, Jeffrey K. Yeager and Defendant Jay Scott.
16
            6.4       No other individuals or entities caused Plaintiff’s injuries and damages.
17

18
                              VII.     RESERVATION OF RIGHTS
19
            6.1       Reservation of Rights. Plaintiff Tayler Wiley reserves the right to assert
20
     additional claims as may be appropriate following further investigation and discovery. On
21
     February 4, 2021, Plaintiff Tayler Wiley submitted claims to the United States Postal
22
     Service under the Federal Tort Claims Act. On March 8, 2021, Defendant USPS confirmed
23

24   that it was in receipt of the claim and was reviewing it. Plaintiff hereby expressly reserves

25   the right to amend this complaint to add additional causes of action under the Federal Tort

26   Claim Act as discovery reveals additional information.


      COMPLAINT - 6                                                            COLBURN LAW
                                                                           22500 SE 64TH PLACE, SUITE 200
                                                                                ISSAQUAH, WA 98027
                                                                      TEL: (206) 919-3215 FAX: (888) 850-2909
            Case 2:22-cv-00374-JHC Document 1 Filed 03/28/22 Page 7 of 7



 1                               VIII.     PRAYER FOR RELIEF
 2
             WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and
3
     severally, as follows:
4
             1.       For a judgment of liability in favor of Plaintiff and against Defendants;
5
             2.       For an award of damages in favor of Plaintiff and against Defendants in an
6
     amount to be proven at the time of trial;
7

8            3.       For prejudgment interest at the statutory rate on economic damages incurred

9    by Plaintiff;

10           4.       For Plaintiff’s costs and disbursements herein and a reasonable attorney’s

11   fee;
12           5.       For such further relief as to the Court seems just.
13
             DATED this 28th day of March, 2022.
14
                                                     S/ GREGORY S. COLBURN
15                                                   Gregory S. Colburn, WSBA #41236
                                                     Colburn Law
16                                                   22500 SE 64th Place, Suite 200
                                                     Issaquah, WA 98027
17                                                   Telephone: (206) 919-3215
                                                     Email: greg@colburnlaw.com
18
                                                     Attorneys for Plaintiff Tayler Wiley
19

20

21

22

23

24

25

26


      COMPLAINT - 7                                                             COLBURN LAW
                                                                            22500 SE 64TH PLACE, SUITE 200
                                                                                 ISSAQUAH, WA 98027
                                                                       TEL: (206) 919-3215 FAX: (888) 850-2909
